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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 LESEL LOVE JR. AND GWENDOLYN
 R. LOVE,

        Plaintiffs,                                 CASE NO.: 21-20934-CIV-MORENO

 vs.

 WESTERN WORLD INSURANCE
 COMPANY,

        Defendant.

 __________________________________/

                                REMOVAL STATUS REPORT

        Defendant, WESTERN WORLD INSURANCE COMPANY, by and through its

 undersigned counsel and files this, its Removal Status Report in compliance with the Court’s

 Notice of Court Practice In Removal Cases, dated March 16, 2021 [D.E. 4], and states as

 follows:

 1)     A plain statement of the nature of the claim and any counterclaim, cross-claim or
        third-party claim, made in state or federal court including the amount of damages
        claimed and any other relief sought.

        For the second time, Plaintiffs, LESEL LOVE JR. and GWENDOLYN R. LOVE, have

 filed a Complaint against Defendant, WESTERN WORLD INSURANCE COMPANY for

 breach of contract based upon an insurance claim with a purported date of loss of September 10,

 2017, for damage to the insured property as the result of Hurricane Irma. As fully stated in the

 Notice of Removal, WESTERN WORLD INSURANCE COMPANY relied on the estimate of

 damages Plaintiffs attached to their state court complaint associated with Lesel Love Jr. vs.

 Western World Insurance Company, Case No.: 20-21664-CIV-MORENO. After application of

 the applicable deductible, the amount in controversy totals $152,601.73, exclusive of attorneys’

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 fees and costs.

 2) A plain statement of the grounds for removal and a list of all parties to the action,
    including parties to any third-party claim.

        Defendant, WESTERN WORLD INSURANCE COMPANY, removed this action based

 upon diversity jurisdiction and an amount in controversy in excess of $75,000.00, pursuant to 28

 U.S.C. §1332(a). WESTERN WORLD INSURANCE COMPANY is entitled to remove this

 action pursuant to 28 U.S.C. § 1441. The grounds for removal are set forth fully in Defendant’s

 Notice of Removal [D.E. 1]. The only parties to this action are Plaintiffs, LESEL LOVE JR. and

 GWENDOLYN R. LOVE, and Defendant, WESTERN WORLD INSURANCE COMPANY.

 3)     A list of all pending motions.

        WESTERN WORLD INSURANCE COMPANY’s Motion for Fees and Costs Incurred

 Regarding Defendant’s Motion to Compel, Doc. 30, in Lesel Love Jr. vs. Western World

 Insurance Company, Case No.: 20-21664-CIV-MORENO, is still pending before this Court.

 There are no pending motions in Case No.: 21-20934-CIV-MORENO (the present case).

 4)     A brief statement by each Defendant explaining whether or not each has joined the
        notice of removal.

        WESTERN WORLD INSURANCE COMPANY is the only Defendant in this action.

 5)     State whether the Defendant has removed the action within thirty (30) days after the
        receipt by the Defendant of a copy of the initial pleading setting forth the claim for
        relief upon which such action or proceeding is based.

        WESTERN WORLD INSURANCE COMPANY timely removed the action within 30

 days of its receipt of a copy of the initial pleading setting forth the claim for relief upon which

 this action is based. As stated in the Notice of Removal, Plaintiffs’ Complaint was served upon

 WESTERN WORLD INSURANCE COMPANY on February 12, 2021, and based on the

 information from Case No.: 20-21664-CIV-MORENO, WESTERN WORLD INSURANCE


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 COMPANY filed its Notice of Removal on March 9, 2021.               Additionally, all state court

 pleadings were filed with the Notice of Removal, collectively attached as Exhibit “1” thereto.

                                          BUTLER WEIHMULLER KATZ CRAIG LLP

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                                          Western World Insurance Company

                                 CERTIFICATE OF SERVICE

        I certify that a copy hereof has been furnished to:

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        by CM/ECF on March 29, 2021.

                                           /s/ Troy J. Seibert, Esq.
                                           TROY J. SEIBERT, ESQ.



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